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 1    WO
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 5
 6                      IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
 9
     United States of America,                   No. CR-15-0976-TUC-CKJ (BGM)
10
                         Plaintiff,
11
                                                 REPORT AND RECOMMENDATION
12   v.
13   Ramon Ramos-Zepeda,
14
                         Defendant.
15
16          Currently pending before the Court is Defendant Ramon Ramos-Zepeda’s Motion
17
      to Suppress Statements (Doc. 37). The Government has filed its Response (Doc. 53).
18
      Govt.’s Response to Def.’s Mot. to Suppress Statements (Doc. 53). No reply has been
19
20    filed. Also pending is Defendant’s Amended Motion to Dismiss Indictment for Unlawful
21    Exclusion Under Title 8 U.S.C. § 1326(d) (Doc. 29). The Government filed its Amended
22
      Response (Doc. 31) and Defendant replied (Doc. 33). Defendant is charged with one
23
24    count of illegal re-entry after deportation in violation of Title 8, United States Code,

25    Section 1326.   Indictment (Doc. 6) at 1.     Defendant Ramon Ramos-Zepeda seeks
26
27
28
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 1    suppression of his statements allegedly obtained in violation of his Miranda1 rights. See
 2
      Def.’s Mot. to Suppress Statements (Doc. 37). Defendant additionally seeks dismissal of
 3
      the Indictment because the previous order of removal against him was allegedly based on
 4
 5    an unlawful exclusion. See Def.’s Amended Mot. to Dismiss Indictment for Unlawful
 6
      Exclusion Under Title 8 U.S.C. §1326(d) (Doc. 29).
 7
            Pursuant to LRCrim. 5.1, this matter came before Magistrate Judge Macdonald for
 8
 9    an evidentiary hearing and a report and recommendation. On February 19, 2016, an
10    evidentiary hearing was held before Magistrate Judge Macdonald regarding the two
11
      motions. Minute Entry 2/19/2016 (Doc. 49). The hearing was continued on March 7,
12
13    2016 and concluded on March 8, 2016. Minute Entry 3/7/2016 (Doc. 70); Minute Entry

14    3/8/2016 (Doc. 74). The Magistrate Judge recommends that the District Court, after its
15
      independent review, deny Defendant’s motions.
16
17
18    I.    FACTUAL BACKGROUND
19
            A. The 2009 Encounter
20
                     1. Initial Stop
21
22          On January 9, 2009 at approximately 8:00 a.m., Defendant Ramon Ramos-Zepeda
23    entered the United States from Mexico near Naco, Arizona. Hr’g Tr. 2/19/2016 (Doc.
24
      79) 79:12–20; Hr’g Tr. 3/7/2016 (Doc. 77) 79:3–21. On January 12, 2009, United States
25
26    Border Patrol (“USBP”) Agent Jorge Borrego processed Defendant for expedited

27
28
            1
                Miranda v. Arizona, 384 U.S. 436, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966).

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 1    removal. Hr’g Tr. 2/19/2016 (Doc. 79) 77:15–78:2, 79:21–23; see also Hr’g Tr. 3/7/2016
 2
      (Doc. 77) 82:19–83:1. Although Defendant Ramos-Zepeda entered the United States on
 3
      January 9, 2009, he was not apprehended until January 12, 2009. Hr’g Tr. 2/19/2016
 4
 5    (Doc. 79) 79:24–80:17; Hr’g Tr. 3/7/2016 (Doc. 77) 79:3–25; see also Hr’g Tr. 3/8/2016
 6
      (Doc. 78) 6:6–16. Agent Borrego has worked for the U.S. Border Patrol for just over
 7
      eight (8) years. Id. at 64:4–7; Hr’g Tr. 3/7/2016 (Doc. 77) 4:9–11. Agent Borrego
 8
 9    completed basic and field training, as well as post-academy training. Hr’g Tr. 2/19/2016
10    (Doc. 79) 64:8–66:13; see also Hr’g Tr. 3/7/2016 (Doc. 77) 4:12–16. Additionally,
11
      Agent Borrego has spoken Spanish since childhood. Hr’g Tr. 2/19/2016 (Doc. 79)
12
13    64:21–65:5. Agent Borrego has had specialty assignments including a detail in Tucson,

14    Arizona as a processing agent, as well as a case agent. Id. at 66:14–67:1; see also Hr’g
15
      Tr. 3/7/2016 (Doc. 77) 5:11–20.
16
            Agent Borrego described his experience as a processing agent, explaining that
17
18    when an individual is apprehended, they are then brought to a processing center. Hr’g Tr.
19
      2/19/2016 (Doc. 79) 67:2–19. Agent Borrego testified that agents in the field would
20
      collect biographical information from an individual and complete a field I-826 reflecting
21
22    that information. Id. at 67:2–68:1. The field I-826 is then given to the processing agent.
23    Id. 67:20–68:4, 69:12–15.     At the station agents will run fingerprints and take a
24
      photograph of the individual. Id. at 67:14–68:18, 69:16–21, 70:14–24. Agent Borrego
25
26    testified that agents consider an individual’s criminal history, their immigration history,

27    and whether they have a claim to being admissible to the United States. Id. at 68:11–
28
      69:11. The processing agent then inputs information regarding the individual into an E3.

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 1    Hr’g Tr. 2/19/2016 (Doc. 79) 69:70:3; Hr’g Tr. 3/7/2016 (Doc. 77) 51:23–52:1. Agent
 2
      Borrego further testified that when entering information into the E3 form, he does so with
 3
      the individual standing in front him, going through each page of information with them.
 4
 5    Hr’g Tr. 2/19/2016 (Doc. 79) 70:4–10. As part of his processing, Agent Borrego verifies
 6
      the name and date of birth of the individual, comparing the information with the field I-
 7
      826. Id. at 70:25–71:9. Agent Borrego also confirms that the photograph represents the
 8
 9    individual standing in front of him. Id. at 71:10–13, 75:14–18.
10           Agent Borrego also testified that he inputs information obtained from the
11
      individual on an I-213 form.        Hr’g Tr. 2/19/2016 (Doc. 79) 72:4–74:18; Hr’g Tr.
12
13    3/7/2016 (Doc. 77) 18:10–11. Agent Borrego verifies the information received on the I-

14    826 form, confirms that the individual has no credible fear, and confirms that they have a
15
      claim which may allow them to be in the United States.2 Hr’g Tr. 2/19/2016 (Doc. 79)
16
      71:14–74:6. These variables, as well as criminal history and immigration history impact
17
18    the way an individual will be processed. Id. If an individual refuses to answer a
19
      question, Agent Borrego will note that the individual “Failed to respond” or something
20
      similar on the form. Id. at 74:19–22. Other information obtained from the individual
21
22    includes their height and weight, country of origin, how they entered the United States,
23    and a United States address if they have one. Id. at 75:19–76:9.
24
             Agent Borrego testified that he processed Defendant Ramos-Zepeda pursuant to
25
26    this procedure on January 12, 2009. Hr’g Tr. 2/19/2016 (Doc. 79) 77:22–78:2; Hr’g Tr.

27           2
               Such claims may include, but are not limited to, derivative citizenship from the
28    individual’s parents or if they have children that are United States citizens. Hr’g Tr. 2/19/2016
      (Doc. 79) 71:14–75:13.

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 1    3/7/2016 (Doc. 77) 18:22–19:20, 57:4–16, 82:19–83:1.         Defendant Ramos-Zepeda
 2
      confirmed that Agent Borrego took his information and put it in the computer system.
 3
      Hr’g Tr. 3/8/2016 (Doc. 78) 9:22–10:14. Agent Borrego further testified that he matched
 4
 5    the photo with the person being processed and asked Defendant Ramos-Zepeda
 6
      biographical questions. Hr’g Tr. 2/19/2016 (Doc. 79) 78:14–25, 92:17–93:14. Defendant
 7
      Ramos-Zepeda informed Agent Borrego that he was a Mexican national and entered the
 8
 9    United States near Naco, Arizona on January 9, 2009 at approximately 8:00 a.m., and
10    was apprehended on January 12, 2009. Id. at 79:3–80:3, 102:10–16; Hr’g Tr. 3/7/2016
11
      (Doc. 77) 20:12–21:24, 31:10–19, 79:3–25. Agent Borrego testified that the information
12
13    provided by Defendant Ramos-Zepeda was consistent with the information provided on

14    the field I-826 form.   Hr’g Tr. 2/19/2016 (Doc. 79) 80:4–13, 85:16–86:13.        Agent
15
      Borrego further testified that he received a criminal history regarding Defendant Ramos-
16
      Zepeda, including an outstanding warrant stemming from a May 23, 2006 conviction in
17
18    Redwood City, California. Id. at 82:8–83:22; Hr’g Tr. 3/7/2016 (Doc. 77) 30:21–24,
19
      57:14–16. Agent Borrego also testified that this outstanding warrant would have made
20
      Defendant Ramos-Zepeda ineligible for a voluntary return. Hr’g Tr. 2/19/2016 (Doc. 79)
21
22    83:19–22.
23          Agent Borrego testified that an individual is eligible for expedited removal, when
24
      he or she has entered the United States without going through a port of entry and is
25
26    apprehended within fourteen (14) days of such entry and within one hundred (100) miles

27    of the border. Hr’g Tr. 2/19/2016 (Doc. 79) 84:13–85:15; see also Hr’g Tr. 3/7/2016
28
      (Doc. 77) 58:22–25, 79:5–8. Agent Borrego further testified that the expedited removal

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 1    process is an administrative proceeding, during which he obtains a sworn statement from
 2
      the individual being processed. Hr’g Tr. 2/19/2016 (Doc. 79) 87:14–15; see also Hr’g Tr.
 3
      3/7/2016 (Doc. 77) 6:11–7:9, 80:15–19. Prior to obtaining a statement, Agent Borrego
 4
 5    testified that he informed Defendant Ramos-Zepeda regarding the expedited removal
 6
      proceeding, including that Defendant Ramos-Zepeda did not appear to be admissible or
 7
      have legal papers authorizing his admission into the United States and that as a result he
 8
 9    may be denied admission and immediately returned to his home country without a
10    hearing. Hr’g Tr. 2/19/2016 (Doc. 79) 98:5–99:4. Agent Borrego further testified that he
11
      informed Defendant Ramos-Zepeda that such removal may result in his being barred
12
13    from reentry for a period of five (5) years or longer, and that Defendant Ramos-Zepeda

14    appeared to understand this. Id. at 98:5–99:4, 103:11–19. Agent Borrego testified that he
15
      spoke with Defendant Ramos-Zepeda in Spanish while processing him for expedited
16
      removal. Id. at 88:16–90:18, 97:6–10; Hr’g Tr. 3/7/2016 (Doc. 77) 83:5–20. Defendant
17
18    Ramos-Zepeda testified that he only speaks Spanish. Hr’g Tr. 3/8/2016 (Doc. 78) 14:20–
19
      15:1. Agent Borrego also testified that he confirmed with his supervisor that expedited
20
      removal was appropriate for Defendant Ramos-Zepeda. Hr’g Tr. 2/19/2016 (Doc. 79)
21
22    81:21–82:3, 112:21–113:8. Defendant Ramos-Zepeda declined to speak with a consular
23    representative during his immigration processing.     Id. at 94:13–24.    Agent Borrego
24
      testified that he informed Defendant Ramos-Zepeda that if he had fear or concern
25
26    regarding removal from the United States, he would have an opportunity to speak with an

27    officer for a determination regarding whether he should remain in the United States.
28
      Hr’g Tr. 2/19/2016 (Doc. 79) 100:9–101:14, 104:1–14. Defendant Ramos-Zepeda denies

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 1    that he was ever asked whether he had fear about returning to his country. Hr’g Tr.
 2
      3/8/2016 (Doc. 78) 15:7–12. Agent Borrego also asked Defendant Ramos-Zepeda if
 3
      there was anything that he would like to say or add. Hr’g Tr. 2/19/2016 (Doc. 79)
 4
 5    103:20–25. Based upon the information obtained from Defendant Ramos-Zepeda, it was
 6
      determined that he was inadmissible to the United States and ordered removed. Hr’g Tr.
 7
      2/19/2016 (Doc. 79) 110:21–112:20; Hr’g Tr. 3/7/2016 (Doc. 77) 42:8–44:7, 77:9–78:12.
 8
 9    Agent Borrego testified that he did not read Defendant Ramos-Zepeda his Miranda rights
10    during processing, because USBP was not pursuing criminal prosecution.          Hr’g Tr.
11
      3/7/2016 (Doc. 77) 24:24–25:4, 58:9–16, 82:9–12. The document finding Defendant
12
13    Ramos-Zepeda was explained to and served upon him. Hr’g Tr. 2/19/2016 (Doc. 79)

14    112:4–115:2; Hr’g Tr. 3/7/2016 (Doc. 77) 70:25–73:22, 84:9–85:20. Defendant Ramos-
15
      Zepeda testified that although he signed the forms, he did not read them because Agent
16
      Borrego told him that he was going to be extradited to California. Hr’g Tr. 3/8/2016
17
18    (Doc. 78) 10:15–11:–16. Defendant Ramos-Zepeda further testified that Agent Borrego
19
      did not read anything to him because “he was angry at me because of the problem that I
20
      had in California.” Id. at 11:17–12:1.
21
22          Agent Borrego also testified that upon determining that Defendant Ramos-Zepeda
23    had an outstanding warrant, Border Patrol contacted the agency with the outstanding
24
      warrant to see if they wanted to seek extradition. Hr’g Tr. 2/19/2016 (Doc. 79) 113:9–20.
25
26    Agent Borrego further testified that Redwood City, California indicated that they did

27    wish to seek extradition. Id. After Defendant Ramos-Zepeda was processed, Agent
28
      Borrego put the file together and waited for the agency seeking extradition to take

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 1    custody. Id. at 115:22–116:11. Agent Borrego testified that Santa Cruz County, Arizona
 2
      took custody of Defendant Ramos-Zepeda for the extradition.            Id. at 116:3–11.
 3
      Defendant Ramos-Zepeda testified that he was in a cell for approximately four (4) hours,
 4
 5    and then a policeman arrived and took him to Santa Cruz County. Hr’g Tr. 3/8/2016
 6
      (Doc. 78) 14:9–19, 15:11–16:19. Once Defendant Ramos-Zepeda was transferred to state
 7
      custody, Agent Borrego sent the file to the file control office. Hr’g Tr. 2/19/2016 (Doc.
 8
 9    79) 12–14; Hr’g Tr. 3/7/2016 (Doc. 77) 62:2–15.
10                 2. January 14–15, 2009
11
            On January 14, 2009, Defendant Ramos-Zepeda was returned to USBP custody
12
13    because San Mateo County, California denied extradition. Hr’g Tr. 3/7/2016 (Doc. 77)

14    66:1–17; see also Hr’g Tr. 3/8/2016 (Doc. 78) 17:1–20. Defendant Ramos-Zepeda was
15
      sent to the Sonoita, Arizona station. Hr’g Tr. 3/7/2016 (Doc. 77) 60:13–20, 66:1–17;
16
      Hr’g Tr. 3/8/2016 (Doc. 78) 17:21–18:4. The agents on duty were unable to locate the
17
18    original file. Hr’g Tr. 3/7/2016 (Doc. 77) 66:1–17. As such, on January 15, 2009 at 2:00
19
      a.m., the January 12, 2009 I-213, originally created by Agent Borrego was recreated by
20
      USBP Agent Anthony Rogers, who also signed on behalf of Agent Gerald Hoyt. Id. at
21
22    64:21–65:17. Agent Rogers confirmed with the San Mateo County Sheriff’s Department
23    that they were declining extradition. Id. at 66:1–17. Agent Rogers then contacted the
24
      Tucson sector prosecutions unit to determine whether Defendant Ramos-Zepeda could be
25
26    prosecuted due to his prior convictions; however, the prosecutions unit confirmed that it

27    was unable to prosecute Defendant Ramos-Zepeda because he was apprehended more
28
      than forty-eight (48) hours earlier. Hr’g Tr. 3/7/2016 (Doc. 77) 67:21–68:6. As a result,

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 1    Defendant Ramos-Zepeda was processed for expedited removal and a new I-860 issued
 2
      and was signed by acting field operations supervisor David Barker. Id. Because agents
 3
      considered prosecuting Defendant Ramos-Zepeda criminally, he was read his Miranda
 4
 5    rights. Id. at 67:21–68:10.
 6
             Defendant Ramos-Zepeda testified that upon his return to the Sonoita station an
 7
      individual took his information again. Hr’g Tr. 3/8/2016 (Doc. 78) 19:2–11. Defendant
 8
 9    Ramos-Zepeda further testified that this included his name, but he did not recall being re-
10    fingerprinted or asked whether he had a credible fear of returning to his country. Id. at
11
      19:8–20:5. Defendant Ramos-Zepeda also testified that no one reviewed the paperwork
12
13    with him, and he only signed the forms because they were part of the processing. Id. at

14    20:6–18. Defendant Ramos-Zepeda thought that he was being sent to Tucson to see an
15
      immigration judge, which did not occur. Id. at 20:19–23. Defendant Ramos-Zepeda was
16
      removed to Mexico on January 15, 2009. Id. at 21:5–22:13.
17
18           B.     The Current Charged Offense
19
                    1. The 2015 Encounter
20
             At approximately midnight on May 1, 2015, United States Border Patrol
21
22    (“USBP”) Agents Adam Letavay and Christopher Wagner were on duty near the
23    Lukeville, Arizona port of entry. Hr’g Tr. 2/19/2016 (Doc. 79) 17:22–18:4, 47:14–25.
24
      Agent Letavay was assigned for a quick reactionary force at the port of entry, because
25
26    there had been reports of violence further south on the Mexico side of the border, and a

27    team of agents were assigned to be prepared if anything came north. Id. at 18:1–17.
28
      Agent Wagner indicated that he and the other agents were asked to stand by because the

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 1    Ajo station had no mobile agents at that time. Id. at 47:21–25. Agents Letavay, Wagner,
 2
      and Swickheimer were in a parking lot just north of the port of entry. Id. at 18–18–19:13.
 3
             Agent Letavay has been a USBP agent for approximately eight and one-half (8
 4
 5    1/2) years. Id. at 13:10–11, 34:18–20. He is currently detailed at the San Diego sector
 6
      mobile response team. Id. at 13:3–6. Agent Letavay completed basic and field training
 7
      prior to becoming a USBP agent, as well as post academy training. Hr’g Tr. 2/19/2016
 8
 9    (Doc. 79) 15:11–16:18, 34:1–17. Agent Letavay has also had specialty assignments as a
10    border patrol agent, including the mobile response team. Id. at 16:19–17:10. His current
11
      unit specializes in arduous terrain and areas that are not readily accessible. Id. at 17:11–
12
13    21.

14           Agent Wagner has also been a USBP agent for approximately eight and one-half
15
      (8 1/2) years. Id. at 45:3–5, 54:19–21. He is currently working out of the San Diego
16
      sector, with the air mobile unit or San Diego strike team. Id. at 44:23–45:1. Agent
17
18    Wagner has been on the San Diego strike team for just under six (6) years. Id. at 45:6–8.
19
      Agent Wagner also received basic training and field training prior to becoming a USBP
20
      agent, as well as specialized training after graduating from the academy. Hr’g Tr.
21
22    2/19/2016 (Doc. 79) 45:9–47:13.
23           Agent Letavay testified that early in the evening of May 1, 2015, he and Agents
24
      Wagner and Swickheimer heard what might have been shots southwest of the port of
25
26    entry, but they were unconfirmed. Id. at 19:1–6. At approximately midnight, Agents

27    Letavay, Wagner, and Swickheimer received a radio call from a mobile surveillance
28
      operator indicating that there were two vehicles at the border fence moving northbound

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 1    across the border road. Id. at 19:14–22, 37:5–12, 48:1–15. Agents Letavay and Wagner
 2
      testified that the three of them acknowledged the radio call and drove south to the border
 3
      road and then eastbound along the border fence. Hr’g Tr. 2/19/2016 (Doc. 79) 19:23–
 4
 5    20:12, 22:8–12, 36:25–37:12, 48:16–22. The mobile operator informed the agents as to
 6
      where he had last seen the two individuals cross the border road and subsequently lost
 7
      them in a small grove of trees. Id. at 20:13–18, 23:19–25, 37:25–38:22, 42:11–24.
 8
 9           Agent Letavay testified that it took approximately five (5) to ten (10) minutes for
10    the agents to reach the two suspects. Id. at 21:7–14, 37:13–17. Agent Letavay further
11
      testified that while driving to the individuals’ last location, the agents maintained radio
12
13    communication with the mobile operator, and stopped within approximately fifteen (15)

14    meters of where the operator believed the individuals crossed the border road. Id. at
15
      22:13–25, 42:11–24. Agent Wagner confirmed Agent Letavay’s testimony. Id. at 48:16–
16
      22. Once at the location the mobile operator directed them to, the agents got out of the
17
18    vehicle and used flashlights to look for foot signs from the border fence and along the
19
      border road. Id. at 23:1–12, 42:25–9, 48:23–49:7. Agent Letavay testified that he was
20
      able to find two (2) sets of prints running from the border fence, north-northeast across
21
22    the road, into the grove of trees. Hr’g Tr. 2/19/2016 (Doc. 79) 23:13–18, 38:23–39:3.
23    Agent Letavay further testified that the agents followed the foot signs across the road and
24
      into the trees, where the two subjects were concealed. Id. at 24:1–11, 39:1–6. Agents
25
26    Letavay and Wagner testified that they were wearing rough duty uniforms, which

27    includes green pants, green uniform shirt, name plate, badge, and Homeland Security and
28
      Border Patrol patches on each shoulder. Id. at 24:12–18, 49:20–50:3. Agent Letavay

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 1    also testified that as he approached the grove of trees he announced his presence as a
 2
      USBP agent. Id. at 24:19–25:4. Agent Letavay further testified that upon entering the
 3
      grove of trees, the agents discovered two (2) subjects, approximately five (5) feet apart,
 4
 5    hiding in the lower brush. Id. at 25:5–9. Defendant Ramos-Zepeda confirmed that he
 6
      was arrested on May 1, 2015 with one other person. Hr’g Tr. 3/8/2016 (Doc. 78) 22:19–
 7
      23:2.
 8
 9            Agent Letavay approached one subject, while Eric Swickheimer approached the
10    second subject.   Hr’g Tr. 2/19/2016 (Doc. 79) 25:10–18, 49:8–19, 60:4–6.          Agent
11
      Letavay testified that he patted down his subject, checking for weapons, and then placed
12
13    him in handcuffs. Id. at 25:19–24. Meanwhile, Agent Wagner, who was standing

14    between the two subjects, asked the 213 questions consisting of inquiring as to the
15
      subjects’ country of origin and whether they have any documentation to be in the United
16
      States. Id. at 25:19–26:12, 55:13–21, 60:4–6. Agent Wagner testified that the subjects
17
18    were asked regarding their citizenship and paperwork in both English and Spanish. Id. at
19
      51:1–17. Agent Letavay testified that he heard the subject respond that he did not have
20
      immigration documents to remain in the United States and that he was from Michoacán, a
21
22    state in Mexico. Id. at 26:7–12. Agent Wagner confirmed that the subjects stated that
23    they were from Mexico. Id. at 49:8–19, 51:18–20. Agent Letavay further testified that
24
      he did not find any weapons on the person he made contact with. Id. at 26:13–16. Agent
25
26    Letavay testified that he did not have his weapon drawn, and to his knowledge neither did

27    the other agents. Hr’g Tr. 2/19/2016 (Doc. 79) 26:17–27:6. Agent Wagner also testified
28
      that he did not have his weapon drawn. Id. at 50:16–18. Defendant Ramos-Zepeda

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 1    testified that he was placed in a vehicle, driven for approximately 500 meters, got out,
 2
      and then agents questioned him regarding where he was from. Id. at 23:12–24:7.
 3
             Agent Letavay testified that once it was determined that the individuals were to be
 4
 5    taken into custody, they were searched more thoroughly, placed in a marked vehicle with
 6
      a cage, their belongings were searched, an apprehension sheet was completed by USBP
 7
      agents, and the individuals were transported to the station for further processing. Id. at
 8
 9    29:1–13, 39:21–40:4, 53:10–20.        On this occasion, Agent Wagner transported the
10    individuals, one of whom, Defendant Ramon Ramos-Zepeda, Agents Letavay and
11
      Wagner identified in court. Id. at 29:17–30:5, 51:21–52:16, 53:10–20.
12
13
14    II.    ANALYSIS
15
             Defendant seeks suppression of his 2009 statement to federal officers, arguing that
16
      they were obtained in violation of McNabb-Mallory, as well as Miranda.3 Def.’s Mot. to
17
18    Suppress Statements (Doc. 37) at 4–9. Defendant also seeks suppression of his 2015
19
      statements made at the time of his initial encounter with border patrol, because they were
20
      allegedly obtained in violation of his Miranda rights. Id. at 9–10. Defendant also seeks
21
22    dismissal of the indictment predicated on Defendant’s 2009 exclusion allegedly violating
23    his due process rights. See Def.’s Mot. to Dismiss (Doc. 29).
24
             A. McNabb-Mallory
25
26                  Rule 5(a), Federal Rules of Criminal Procedure provides that “[a] person

27           3
               The Government averred at oral argument that it does not intend to use Defendant’s
28    January 15, 2009 statement at trial. Hr’g Tr. 2/19/2016 (Doc. 79) 10:10–12:3. As such, the only
      statement from 2009 currently at issue is that made on January 12, 2009.

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 1    making an arrest within the United States must take the defendant without unnecessary
 2
      delay before a magistrate judge, or before a state or local judicial officer as 5(c) provides,
 3
      unless a statute provides otherwise.” Fed. R. Crim. P. 5(a)(1)(A). In McNabb v. United
 4
 5    States, 318 U.S. 332, 63 S.Ct. 608, 87 L.Ed. 819 (1943), and Mallory v. United States,
 6
      354 U.S. 449, 77 S.Ct. 1356, 1 L.Ed.2d 1479 (1957), the Supreme Court of the United
 7
      States established “the rule known simply as McNabb-Mallory [which] ‘generally
 8
 9    render[s] inadmissible confessions made during periods of detention that violat[e] the
10    prompt presentment requirement of Rule 5(a).’” Corley v. United States, 556 U.S. 303,
11
      309, 129 S.Ct. 1558, 1563, 173 L.Ed.2d 443 (2009) (2d and 3d alteration in original)
12
13    (quoting United States v. Alvarez-Sanchez, 511 U.S. 350, 354, 114 S.Ct. 1599, 128

14    L.Ed.2d 319 (1994)).
15
             In 1968, Congressed “enacted 18 U.S.C. § 3501 in response to Miranda v.
16
      Arizona, 384 U.S. 436, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966), and to the application of
17
18    McNabb-Mallory in some federal courts.” Corley, 556 U.S. at 309, 129 S.Ct. at 1563.
19
      Section 3501(c), 18. U.S.C. provides:
20
             In any criminal prosecution by the United States or by the District of
21           Columbia, a confession made or given by a person who is a defendant
22           therein, while such person was under arrest or other detention in the
             custody of any law-enforcement officer or law-enforcement agency, shall
23           not be inadmissible solely because of delay in bringing such person before
24           a magistrate judge or other officer empowered to commit persons charged
             with offenses against the laws of the United States or of the District of
25           Columbia if such confession is found by the trial judge to have been made
26           voluntarily and if the weight to be given the confession is left to the jury
             and if such confession was made or given by such person within six hours
27           immediately following his arrest or other detention: Provided, That the
28           time limitation contained in this subsection shall not apply in any case in
             which the delay in bringing such person before such magistrate judge or

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 1           other officer beyond such six-hour period is found by the trial judge to be
 2           reasonable considering the means of transportation and the distance to be
             traveled to the nearest available such magistrate judge or other officer.
 3
      18 U.S.C. § 3501(c). In Corley, the Court considered the impact of § 3501(c) on the
 4
 5    McNabb-Mallory rule, holding that:
 6           [Section] 3501[, 18 U.S.C.,] modified McNabb-Mallory without
 7           supplanting it. Under the rule as revised by § 3501(c), a district court with
             a suppression claim must find whether the defendant confessed within six
 8           hours of arrest (unless a longer delay was “reasonable considering the
 9           means of transportation and the distance to be traveled to the nearest
             available [magistrate judge]”). If the confession came within that period, it
10           is admissible, subject to the other Rules of Evidence, so long as it was
11           ‘made voluntarily and . . . the weight to be given [it] is left to the jury.”
             Ibid. If the confession occurred before presentment and beyond six hours,
12           however, the court must decide whether delaying that long was
             unreasonable or unnecessary under the McNabb-Mallory cases, and if it
13
             was, the confession is to be suppressed.
14
      Corley, 556 U.S. at 322, 129 S.Ct. at 1571 (alterations 3–5 in original).
15
16           Here, Defendant Ramos-Zepeda entered the United States from Mexico on

17    January 9, 2009 near Naco, Arizona. Hr’g Tr. 2/19/2016 (Doc. 79) 79:3–80:3, 102:10–
18
      16; Hr’g Tr. 3/7/2016 (Doc. 77) 20:12–21:24, 31:10–19, 79:3–21. He was apprehended
19
      by United States Border Patrol agents at approximately 1:30 a.m. on January 12, 2009
20
21    and processed by USBP Agent Borrego. Hr’g Tr. 2/19/2016 (Doc. 79) 77:15–78:2, 79:3–
22
      80:17; Hr’g Tr. 3/7/2016 (Doc. 77) 20:12–21:24, 31:10–19, 79:3–25, 82:19–83:1; Hr’g
23
      Tr. 3/8/2016 (Doc. 78) 6:6–16. As part of processing, Defendant Ramos-Zepeda was
24
25    fingerprinted and photographed. Hr’g Tr. 2/19/2016 (Doc. 79) 77:22–78:25, 92:17–
26    93:14; Hr’g Tr. 3/7/2016 (Doc. 77) 18:22–19:20, 57:4–16, 82:19–83:1.            Defendant
27
      Ramos-Zepeda informed Agent Borrego that he was a Mexican national and entered the
28

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 1    United States near Naco, Arizona. Hr’g Tr. 2/19/2016 (Doc. 79) 79:3–80:3, 102:10–16;
 2
      Hr’g Tr. 3/7/2016 (Doc. 77) 20:12–21:24, 31:10–19, 79:3–25. During processing, Agent
 3
      Borrego discovered that Defendant had an outstanding warrant stemming from a May 23,
 4
 5    2006 conviction in Redwood City, California. Hr’g Tr. 2/19/2016 (Doc. 79) 82:8–83:22;
 6
      Hr’g Tr. 3/7/2016 (Doc. 77) 30:21–24, 57:14–16. Agent Borrego testified that he spoke
 7
      Spanish to Defendant Ramos-Zepeda and that he explained the expedited removal
 8
 9    process to him. Hr’g Tr. 2/19/2016 (Doc. 79) 88:16–90:18, 97:6–10, 98:5–99:4; Hr’g Tr.
10    3/7/2016 (Doc. 77) 83:5–20. Defendant Ramos-Zepeda declined to speak with a consular
11
      representative and did not indicate any fear about returning to his country. Hr’g Tr.
12
13    2/19/2016 (Doc. 79) 94:13–24, 100:9–101:14, 104:1–14. Despite Defendant’s testimony

14    to the contrary, the Court finds Agent Borrego credible. After processing, Santa Cruz
15
      County, Arizona took custody of Defendant Ramos-Zepeda for extradition to California.
16
      Hr’g Tr. 2/19/2016 (Doc. 79) 116:3–11.
17
18          Defendant was never charged with a criminal violation.         As such, McNabb-
19
      Mallory does not apply. Even if the Court were to accept that it is applicable, Defendant
20
      Ramos-Zepeda’s statement was given within the first six (6) hours after his arrest and
21
22    was voluntarily made. As such, there can be no McNabb-Mallory violation.
23          B. Miranda
24
                   1. In General
25
26          The Fifth Amendment to the United States Constitution provides that “[n]o person

27    . . . shall be compelled in any criminal case to be a witness against himself[.]” U.S.
28
      Const. amend. V. The Supreme Court of the United States has “recognized that custodial

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 1    interrogations, by their very nature, generate ‘compelling pressures which work to
 2
      undermine the individual’s will to resist and to compel him to speak where he would not
 3
      otherwise do so freely.’” Moran v. Burbine, 475 U.S. 412, 420, 96 S.Ct. 1135, 1140, 89
 4
 5    L.Ed.2d 410 (1986) (quoting Miranda v. Arizona, 384 U.S. 436, 467, 86 S.Ct. 1602,
 6
      1624, 16 L.Ed.2d 694 (1966)). “To combat this inherent compulsion, and thereby protect
 7
      the Fifth Amendment privilege against self-incrimination, Miranda imposed on the police
 8
 9    an obligation to follow certain procedures in their dealings with the accused.” Moran,
10    475 U.S. at 420, 96 S.Ct. at 1140. Specifically, the Court has found the Constitution
11
      requires “that a person questioned by law enforcement officers after being ‘taken into
12
13    custody or otherwise deprived of his freedom of action in any significant way’ must first

14    ‘be warned that he has a right to remain silent, that any statement he does make may be
15
      used as evidence against him, and that he has a right to the presence of an attorney, either
16
      retained or appointed.’” Stansbury v. California, 511 U.S. 318, 322 (1994) (quoting
17
18    Miranda v. Arizona, 384 U.S. 436, 444 (1966)). “An officer’s obligation to administer
19
      Miranda warnings attaches . . . ‘only where there has been such a restriction on a
20
      person’s freedom as to render him “in custody.”’” Stansbury, 511 U.S. at 322 (quoting
21
22    Oregon v. Mathiason, 429 U.S. 492, 495 (1977)).
23                  2. In Custody
24
             “Custodial” means taken into custody or otherwise deprived of freedom of action
25
26    in a significant way. Miranda v. Arizona, 384 U.S. 436, 444 (1966) (“By custodial

27    interrogation, we mean questioning initiated by law enforcement officers after a person
28
      has been taken into custody or deprived of his freedom of action in any significant

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 1    way.”). “Two discrete inquiries are essential to the [“in custody”] determination: first,
 2
      what were the circumstances surrounding the interrogation; and second, given those
 3
      circumstances, would a reasonable person have felt he or she was not at liberty to
 4
 5    terminate the interrogation and leave.” Thompson v. Keohane, 516 U.S. 99, 112, 116
 6
      S.Ct. 457, 465, 133 L.Ed.2d 383 (1995). The Ninth Circuit Court of Appeals has further
 7
      delineated that “[t]o determine whether an individual was in custody, a court must, after
 8
 9    examining all of the circumstances surrounding the interrogation, decide ‘whether there
10    [was] a formal arrest or restraint on freedom of movement of the degree associated with a
11
      formal arrest.’” United States v. Kim, 292 F.3d 969, 973 (9th Cir. 2002) (quoting
12
13    Stansbury v. California, 511 U.S. 318, 322, 144 S.Ct. 1526, 128 L.Ed.2d 293 (1994)).

14                 3. Interrogation
15
            “Not every question asked in a custodial setting constitutes ‘interrogation.’”
16
      United States v. Mata-Abundiz, 717 F.2d 1277, 1278 (9th Cir. 1983) (citing United States
17
18    v. Booth, 669 F.2d 1231, 1237 (9th Cir. 1981)). “The test is whether ‘under all of the
19
      circumstances involved in a given case, the questions are ‘reasonably likely to elicit an
20
      incriminating response from the suspect.’’” Mata-Abundiz, 717 F.2d at 1278–79 (quoting
21
22    Booth, 669 F.2d at 1237; Rhode Island v. Innis, 446 U.S. 291, 301, 100 S.Ct. 1682, 1689,
23    64 L.Ed.2d 297 (1980)).
24
            “‘[I]nterrogation’ under Miranda refers not only to express questioning, but also to
25
26    any words or actions on the part of the police (other than those normally attendant to

27    arrest and custody) that the police should know are reasonably likely to elicit an
28
      incriminating response from the suspect.” Rhode Island v. Innis, 446 U.S. 291, 301, 100

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 1    S.Ct. 1682, 1689, 64 L.Ed.2d 297 (1980). As such, “‘[i]nterrogation,’ as conceptualized
 2
      in the Miranda opinion, must reflect a measure of compulsion above and beyond that
 3
      inherent in custody itself.” Id. at 300, 100 S.Ct. at 1689.
 4
 5           “Ordinarily, the routine gathering of background biographical data will not
 6
      constitute interrogation.” Booth, 669 F.2d at 1238 (citations omitted). “If, however, the
 7
      questions are reasonably likely to elicit an incriminating response in a particular situation,
 8
 9    the exception does not apply.” Mata-Abundiz, 717 F.2d at 1280 (citing Booth, 669 F.2d
10    at 1238).   As such, the Ninth Circuit Court of Appeals has held “that in-custody
11
      questioning by INS investigators must be preceded by Miranda warnings, if the
12
13    questioning is reasonably likely to elicit an incriminating response.” Id. Subsequently,

14    the Ninth Circuit Court of Appeals recognized that where “an INS agent’s purely
15
      administrative interview of the defendant was . . . for the ‘sole purpose’ of determining
16
      whether the defendant was subject to an administrative action for deportation[,]” Miranda
17
18    warnings were not required. United States v. Chen, 439 F.3d 1037 (9th Cir. 2006) (citing
19
      United States v. Salgado, 292 F.3d 1169 (9th Cir. 2002)). The Salgado court recognized
20
      that there was no evidence that the interviewing agent “could (or did) reasonably believe
21
22    that [the defendant] could be incriminating himself on account of the likelihood that he
23    would reenter illegally and commit more crimes a year later.” Salgado, 292 F.3d at 1173.
24
             Here, Agent Borrego processed Defendant Ramos-Zepeda for possible extradition
25
26    to California and an expedited removal from the United States because he had entered the

27    United States without going through a port of entry and was apprehended within fourteen
28
      (14) days of such entry and within one hundred (100) miles of the border. Hr’g Tr.

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 1    2/19/2016 (Doc. 79) 84:13–85:15, 113:9–20; see also Hr’g Tr. 3/7/2016 (Doc. 77) 58:22–
 2
      25, 79:5–8. Agent Borrego could not predict that Defendant would violate the law six (6)
 3
      years later. As such, the Court finds this case is more similar to Salgado than Mata-
 4
 5    Abundiz. Agent Borrego processed Defendant Ramos-Zepeda administratively, and no
 6
      criminal charges were brought based on Defendant’s 2009 entry. See Hr’g Tr. 3/7/2016
 7
      (Doc. 77) 24:24–25:4, 58:9–16, 67:21–68:6, 82:9–12. Accordingly, Agent Borrego’s
 8
 9    interview was not an interrogation, and there was no Miranda violation. Salgado, 292
10    F.3d at 1174.
11
             C.       Terry Stop
12
13           “The Fourth Amendment prohibits ‘unreasonable searches and seizures’ by the

14    Government, and its protections extend to brief investigatory stops of persons or vehicles
15
      that fall short of traditional arrest.” United States v. Arvizu, 534 U.S. 266, 273, 122 S.Ct.
16
      744, 750, 151 L.Ed.2d 740 (2002) (citing Terry v. Ohio, 392 U.S. 1, 9, 88 S.Ct. 1868, 20
17
18    L.Ed.2d 889 (1968); United States v. Cortez, 449 U.S. 411, 417, 101 S.Ct. 690, 66
19
      L.Ed.2d 621 (1981)).         For the police to conduct a valid stop, they must “have a
20
      reasonable suspicion supported by articulable facts that criminal activity may be afoot.”
21
22    United States v. Sokolow, 490 U.S. 1, 7, 109 S.Ct. 1581, 1585, 104 L.Ed.2d 1 (1989)
23    (internal quotes and citation omitted). “[T]he level of suspicion required for a Terry
24
      stop[, however,] is obviously less demanding than that for probable cause.” Id. at 8, 109
25
26    S.Ct. at 1585 (internal citations omitted). “Officers on roving border patrols . . . may

27    conduct ‘brief investigatory stops’ without violating the Fourth Amendment ‘if the
28
      officer’s action is supported by reasonable suspicion to believe that criminal activity may

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 1    be afoot.’” United States v. Valdes-Vega, 738 F.3d 1074, 1078 (9th Cir. 2013) (en banc)
 2
      (citations omitted).
 3
             “Reasonable suspicion is defined as ‘a particularized and objective basis for
 4
 5    suspecting the particular person stopped of criminal activity.’” Id. (quoting United States
 6
      v. Cotterman, 709 F.3d 952, 968 (9th Cir. 2013) (en banc)). “The reasonable-suspicion
 7
      standard is not a particularly high threshold to reach.” Valdes-Vega, 738 F.3d at 1078.
 8
 9    Furthermore, although “a mere hunch is insufficient to justify a stop, the likelihood of
10    criminal activity need not rise to the level required for probable cause, and it falls
11
      considerably short of satisfying a preponderance of the evidence standard.” Id. (quoting
12
13    Arvizu, 534 U.S. at 274, 122 S.Ct. 744) (citations and internal quotation marks omitted).

14           When making a reasonable-suspicion determination, the reviewing court “must
15
      look at the ‘totality of the circumstances’ of each case to see whether the detaining officer
16
      has a ‘particularized and objective basis’ for suspecting legal wrongdoing.” United
17
18    States v. Arvizu, 534 U.S. 266, 273, 122 S.Ct. 744, 750, 151 L.Ed.2d 740 (2002)
19
      (citations omitted); see also United States. v. Alvarez, 899 F.2d 833, 836 (9th Cir. 1990).
20
      In so doing, officers are allowed “to draw on their own experience and specialized
21
22    training to make inferences from and deductions about the cumulative information
23    available to them that ‘might well elude an untrained person.’” Id. at 273, 122 S.Ct. at
24
      750-51. (citations omitted); see also Valdes-Vega, 738 F.3d at 1078. Moreover, what
25
26    may seem to be innocuous conduct when viewed in isolation may be appropriately

27    considered when considering the totality of the circumstances; thus, it is inappropriate to
28
      view factors in isolation and to give no weight to factors which may have an innocent

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 1    explanation. Arvizu, 534 U.S. at 273-75, 122 S.Ct. at 750-51; see also Cotterman, 709
 2
      F.3d at 970 (“It is not our province to nitpick the factors in isolation but instead to view
 3
      them in the totality of the circumstances.”).       Furthermore, “A determination that
 4
 5    reasonable suspicion exists . . . need not rule out the possibility of innocent conduct.”
 6
      Valdes-Vega, 738 F.3d at 1078-79 (citing Arvizu, 534 at 277, 122 S.Ct. 744) (alterations
 7
      in original).
 8
 9           “In the context of border patrol stops, the totality of the circumstances may include
10    characteristics of the area, proximity to the border, usual patterns of traffic and time of
11
      day, previous alien or drug smuggling in the area, behavior of the driver, appearance or
12
13    behavior of passengers, and the model and appearance of the vehicle.” Valdes-Vega, 738

14    F.3d at 1079 (citing United States v. Brignoni-Ponce, 422 U.S. 873, 884-85, 95 S.Ct.
15
      2574, 45 L.Ed.2d 607 (1975)). “Not all of these factors must be present or highly
16
      probative in every case to justify reasonable suspicion[,] . . . [a]nd the facts must be
17
18    filtered through the lens of the agents’ training and experience.” Valdes-Vega, 738 F.3d
19
      at 1079 (citations omitted).
20
             Furthermore, in executing a Terry stop, an officer may ask questions “reasonably
21
22    related in scope to the justification for their initiation.” Terry, 392 U.S. at 29, 88 S.Ct.
23    1868. “An ‘officer may question [individuals reasonably detained near the border] about
24
      their citizenship and immigration status, and he may ask them to explain suspicious
25
26    circumstances, but any further detention or search must be based on consent or probable

27    cause.’”    United States v. Cervantes-Flores, 421 F.3d 825, 830 (9th Cir. 2005)
28
      (alterations in original) (quoting Brignoni-Ponce, 422 U.S. at 881–82, 95 S.Ct. 2574),

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 1    overruled in part on other grounds by Melendez-Diaz v. Massachusetts, 557 U.S. 305,
 2
      129 S.Ct. 2527, 174 L.Ed.2d 314 (2009)).
 3
            Here, USBP agents discovered Defendant Ramos-Zepeda hiding in a grove of
 4
 5    trees with another individual. Hr’g Tr. 2/19/2016 (Doc. 79) 25:5–9. Agents tracked
 6
      Defendant to that location based on the information obtained from a mobile operator who
 7
      had seen the two individuals cross the border road. Id. at 20:13–18, 23:13–24:11, 37:25–
 8
 9    39:6, 42:11–24. Agents Letavay, Wagner, and Swickheimer had reasonable suspicion
10    that criminal activity was afoot and were justified in their questioning of Defendant
11
      Ramos-Zepeda and the individual hiding with him. Sokolow, 490 U.S. at 7, 109 S.Ct. at
12
13    1585. The Court finds the agents’ testimony that they questioned Defendant Ramos-

14    Zepeda immediately upon encountering him credible.          The Court does not credit
15
      Defendant’s testimony that they drove 500 meters, got out of the vehicle, and then
16
      questioned him. The Court finds that the brief questioning that occurred regarding
17
18    Defendant Ramos-Zepeda’s citizenship and immigration status upon agents’ discovery of
19
      him hiding in the bushes is not custodial interrogation and does not violate of Miranda.
20
      See Cervantes-Flores, 421 F.3d at 829–30. As such, Defendant’s 2015 statements should
21
22    not be suppressed.
23          D.     Due Process in Prior Removal
24
            “To convict an alien criminal defendant of illegal reentry under 8 U.S.C. § 1326,
25
26    the government must prove that the alien left the United States under order of exclusion,

27    deportation, or removal, and then illegally reentered.”      United States v. Barajas-
28
      Alvarado, 655 F.3d 1077, 1079 (9th Cir. 2011). A defendant charged under Section 1326

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 1    “may not challenge the validity of the deportation order . . . unless the alien demonstrates
 2
      that – (1) the alien exhausted any administrative remedies that may have been available to
 3
      seek relief against the order; (2) the deportation proceedings at which the order was
 4
 5    issued improperly deprived the alien of the opportunity for judicial review; and (3) the
 6
      entry of the order was fundamentally unfair.” 8 U.S.C. § 1326(d). “To satisfy the third
 7
      prong—that the order was fundamentally unfair—the defendant bears the burden of
 8
 9    establishing both that the ‘deportation proceedings violate[d] [his] due process rights’ and
10    that the violation caused prejudice. United States v. Raya-Vaca, 771 F.3d 1195, 1201–02
11
      (9th Cir. 2014) (citations omitted) (alterations in original).
12
13           “The regulations governing expedited removal proceedings codify, in mandatory

14    terms, the immigration officer’s duty to inform the alien of the charge against him and to
15
      allow the alien to review the sworn statement prepared in his name.” Id. at 1204 (citing 8
16
      C.F.R. §235.3(b)(2)(i). Section 235.3(b)(2)(i), Code of Federal Regulations, provides in
17
18    relevant part:
19
             In every case in which the expedited removal provisions will be applied and
20           before removing an alien from the United States pursuant to his section, the
             examining immigration officer shall create a record of the facts of the case
21           and statements made by the alien. This shall be accomplished by means of
22           a sworn statement using Form I-867AB, Record of Sworn Statement in
             Proceedings under Section 235(b)(1) of the Act.               The examining
23           immigration officer shall read (or have read) to the alien all information
24           contained on Form I-867A. Following questioning and recording of the
             alien’s statement regarding identity, alienage, and inadmissibility, the
25           examining immigration officer shall record the alien’s response to the
26           questions contained on Form I-867B, and have the alien read (or have read
             to him or her) the statement, and the alien shall sign and initial each page of
27           the statement and each correction. The examining immigration officer shall
28           advise the alien of the charges against him or her on Form I-860, Notice
             and Order of Expedited Removal, and the alien shall be given an

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 1             opportunity to respond to those charges in the sworn statement. After
 2             obtaining supervisory concurrence in accordance with paragraph (b)(7) of
               this section, the examining immigration official shall serve the alien with
 3             Form I-860 and the alien shall sign the reverse of the form acknowledging
               receipt. Interpretative assistance shall be used if necessary to communicate
 4
               with the alien.
 5
      8 C.F.R. § 235.3(b)(2)(i).
 6
 7             As an initial matter, the Court finds Agent Borrego’s testimony credible. Agent

 8    Borrego testified that he processed Defendant Ramos-Zepeda pursuant to the standard
 9
      procedure for processing on January 12, 2009. Hr’g Tr. 2/19/2016 (Doc. 79) 77:22–78:2;
10
11    Hr’g Tr. 3/7/2016 (Doc. 77) 18:22–19:20, 57:4–16, 82:19–83:1. Agent Borrego further

12    testified that he matched the photo with the person being processed and asked Defendant
13
      Ramos-Zepeda biographical questions. Hr’g Tr. 2/19/2016 (Doc. 79) 78:14–25, 92:17–
14
      93:14.     Defendant Ramos-Zepeda informed Agent Borrego that he was a Mexican
15
16    national and entered the United States near Naco, Arizona on January 9, 2009 at
17    approximately 8:00 a.m., and was apprehended on January 12, 2009. Id. at 79:3–80:3,
18
      102:10–16; Hr’g Tr. 3/7/2016 (Doc. 77) 20:12–21:24, 31:10–19, 79:3–25.                  Agent
19
20    Borrego testified that the information provided by Defendant Ramos-Zepeda was

21    consistent with the information provided on the field I-826 form. Hr’g Tr. 2/19/2016
22
      (Doc. 79) 80:4–13, 85:16–86:13. Agent Borrego further testified that he received a
23
24    criminal history regarding Defendant Ramos-Zepeda, including an outstanding warrant

25    stemming from a May 23, 2006 conviction in Redwood City, California. Id. at 82:8–
26
      83:22; Hr’g Tr. 3/7/2016 (Doc. 77) 30:21–24, 57:14–16. Agent Borrego also testified
27
      that this outstanding warrant would have made Defendant Ramos-Zepeda ineligible for a
28

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 1    voluntary return. Hr’g Tr. 2/19/2016 (Doc. 79) 83:19–22.
 2
            Agent Borrego testified that the expedited removal process is an administrative
 3
      proceeding, during which he obtains a sworn statement from the individual being
 4
 5    processed. Hr’g Tr. 2/19/2016 (Doc. 79) 87:14–15; see also Hr’g Tr. 3/7/2016 (Doc. 77)
 6
      6:11–7:9, 80:15–19. Prior to obtaining a statement, Agent Borrego testified that he
 7
      informed Defendant Ramos-Zepeda regarding the expedited removal proceeding,
 8
 9    including that Defendant Ramos-Zepeda did not appear to be admissible or have legal
10    papers authorizing his admission into the United States and that as a result he may be
11
      denied admission and immediately returned to his home country without a hearing. Hr’g
12
13    Tr. 2/19/2016 (Doc. 79) 98:5–99:4. Agent Borrego further testified that he informed

14    Defendant Ramos-Zepeda that such removal may result in his being barred from reentry
15
      for a period of five (5) years or longer, and that Defendant Ramos-Zepeda appeared to
16
      understand this. Id. at 98:5–99:4, 103:11–19. Agent Borrego testified that he spoke with
17
18    Defendant Ramos-Zepeda in Spanish while processing him for expedited removal. Id. at
19
      88:16–90:18, 97:6–10; Hr’g Tr. 3/7/2016 (Doc. 77) 83:5–20.          Agent Borrego also
20
      testified that he confirmed with his supervisor that expedited removal was appropriate for
21
22    Defendant Ramos-Zepeda. Hr’g Tr. 2/19/2016 (Doc. 79) 81:21–82:3, 112:21–113:8.
23    Defendant Ramos-Zepeda declined to speak with a consular representative during his
24
      immigration processing. Id. at 94:13–24. Agent Borrego testified that he informed
25
26    Defendant Ramos-Zepeda that if he had fear or concern regarding removal from the

27    United States, he would have an opportunity to speak with an officer for a determination
28
      regarding whether he should remain in the United States. Hr’g Tr. 2/19/2016 (Doc. 79)

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 1    100:9–101:14, 104:1–14. Agent Borrego also asked Defendant Ramos-Zepeda if there
 2
      was anything that he would like to say or add. Hr’g Tr. 2/19/2016 (Doc. 79) 103:20–25.
 3
      Based upon the information obtained from Defendant Ramos-Zepeda, it was determined
 4
 5    that he was inadmissible to the United States and ordered removed. Hr’g Tr. 2/19/2016
 6
      (Doc. 79) 110:21–112:20; Hr’g Tr. 3/7/2016 (Doc. 77) 42:8–44:7, 77:9–78:12. The
 7
      document finding Defendant Ramos-Zepeda was explained to and served upon him.
 8
 9    Hr’g Tr. 2/19/2016 (Doc. 79) 112:4–115:2; Hr’g Tr. 3/7/2016 (Doc. 77) 70:25–73:22,
10    84:9–85:20. Defendant Ramos-Zepeda did not, however, sign the back of the form
11
      acknowledging receipt.     As such, there was a technical violation of 8 C.F.R. §
12
13    235.3(b)(2).

14           “To succeed in demonstrating that the [2009] expedited removal order was
15
      fundamentally unfair, [Defendant Ramos-Zepeda] must also establish that he suffered
16
      prejudice as a result of the entry of the order . . . [by] show[ing] that he had ‘plausible
17
18    grounds for relief’ from the removal order.” Raya-Vaca, 771 F.3d at 1206. Defendant
19
      Ramos-Zepeda has not met his burden. At the time of his 2009 removal, Defendant
20
      Ramos-Zepeda did not have any legal status in the United States, he was not eligible for
21
22    cancellation of removal, he did not have any family here, he was not eligible for
23    temporary protected status due to his prior felony conviction, and he did not indicate any
24
      fear of returning to Mexico. Moreover, withdrawal of an application for admission is at
25
26    the discretion of the Attorney General. 8 U.S.C. § 1225(a)(4). Accordingly, Defendant

27    has failed to show prejudice as a result of his 2009 removal order.
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 1    III.   CONCLUSION
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             The Court finds that there were no violations of McNabb-Mallory or Miranda in
 3
      this case, and as such, Defendant’s statements should not be suppressed. The Court
 4
 5    further finds that Defendant’s 2009 removal was proper.
 6
 7
      IV.    RECOMMENDATION
 8
 9           For the foregoing reasons, the Magistrate Judge recommends that the District
10    Judge DENY Defendant Ramon Ramos-Zepeda’s Motion to Suppress Statements (Doc.
11
      37) and Amended Motion to Dismiss Indictment for Unlawful Exclusion Under Title 8
12
13    U.S.C. § 1326(d) (Doc. 29).

14           Pursuant to 28 U.S.C. §636(b) and Rule 59(b)(2) of the Federal Rules of Criminal
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      Procedure, any party may serve and file written objections within fourteen (14) days after
16
      being served with a copy of this Report and Recommendation. No reply shall be filed
17
18    unless leave is granted from the District Court. If objections are filed, the parties should
19
      use the following case number: CR-15-0976-TUC-CKJ.
20
             Failure to file timely objections to any factual or legal determination of the
21
22    Magistrate Judge in accordance with Fed. R. Crim. P. 59 may result in waiver of the right
23    of review.
24
             Dated this 29th day of April, 2016.
25
26
27                                       Honorable Bruce G. Macdonald
28                                       United States Magistrate Judge


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